        Case 6:16-cv-06263-MAT-JWF Document 1-1 Filed 04/20/16 Page 1 of 4


           ~:,...   NEW YORK STATE
                ~   DEPARTMENT~,.
              ,-~   FINANCIAL SERVICES
       Andrew M, Cuomo                                                          Maria T. Vullo
       Governor                                                                 Acting Superintendent

    STATE OF NEW YORK
    Supreme Court, County of LIVINGSTON                 ~

    Dacola Shores Properties1 LLC                                          Plaintiff(s)           000799-2015


                                              against

   Erie Insurance Company                                                  Defendant(s)
   RE :Erie Insurance Company
   Attorney for Plaintiff(s) and Defendant(s) please take notice as follows:

  Attorney for Plaintiff(s) is hereby advised of acknowledgement of service upon this Department
  Summons with Notice in the above entitled action on March 211 2016 at Albany, New York. The $ 40.00
  fee is also acknowledged

  Original to Attorney for Plaintiff(s):
       Raymond C. Stitweti, Esq.
       4476 Main Street
       Suite 120
      Amherst, New York 14226
 Persuant to the requirement of section 1212 of the Insurance Law, Defendant(s) is hereby notified of
 service as effected above. A copy of the paper is enclosed.

 Duplicate to Defendant:
     James J. Tanous, General Counsel
     Erie Insurance Company
     100 Erie Insurance Place
     Erie, Pennsylvania 16530




                                                                 Jacqueline Catalfamo
Dated Albany, New York, March 22, 2016                           Special Deputy Superintendent
568136
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 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF UVINGSTON
                                                              -t

     DACOLA SHORES PROPERTIES, LLC

                                   PlaintiWPetitioner,

                 -   against   -                                             Index No. 000799-201 5
      ERIE INSURANCE COMPANY

                                   Defendant/Respondent.
 -                                                            x

                        NOTICE OF cOMMENcEMENT OF ACTION
                      SUBJECT TO MANDATORY ELECTRONIC FILING
         PLEASE TAKE NOTICE that the matter captioned above, which has been commenced by filing of the
accompanying documents with the CountyClerk, is subject to mandatory electronic filing pursuant to Section 202.5-bb
of the Unifonii Rules for the Trial Courts. This notice is being served as required by Subdivision (b) (3) of that
Section.

          The New Yoric State Courts Electronic Filing System (“NYSCEF”) is designed for the electronic tiling of
documents with the County Clerk and the court and for the electronic service of those documents, court documents,
and court notices upon counsel and self-represented parties. Counsel and/or parties who do not notii~i the court of a
claimed exemption (see below) as required by Section 202.5 -bb(e) must immediately record their representation within
the c-filed matter on the ConsentlRepresent page in NYSCEF. Failure to do so may result in an inability to receive
electronic notice of document filings.

        Exemptions from mandatory c-filing are limited to: I) attorneys who certify in good faith that they lack the
computer equipment or (along with all employees) the requisite knowledge to comply; and 2) self-represented parties
who choose not to participate in c-filing. Foradditional infomiation about electronic filing, including access to Section
202.5-bb, consult the NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center (phone:
646-386-3033; e-mail: cflh~1i~nycourts.Fzov; mailing address: 60 Centre Street, New York, New York 10007).

Dated: Mai’~h1L2Oie



RAYMOND C. ST1LWEU., ESQ (Name)                            Amherst, New York 14226




To:     ERIE INSURANCE Co.
        120 Corporate Woods

        Rochester, NY 14623

                                                                                                               614114
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  SUPREME COURT OF ThE STATE OF NEW YORK
  COUNTY OF LIVINGSTON
  —                                                          x
   DACOLA SHORES PROPERTIES, LLC
                                                                        SUMMONSWITH NOTICE
                                     Plaintiff(s),
         -   vs   -
                                                                        Index No.: c~O ~ 7 ‘~ ~y

  ERIE INSURANCE COMPANY                                                Date Index No. Pyrchased
                                                                              ii   lasrfL(
                                     Defendant(s).
                  -                                          x
  To the Person(s) Named as Defendant(s) Above:                                         -




         PLEASE TAKE NOTICE THAT YOU ARE HEREBY SUMMONED to appear In this action
  by seiving a notice of appearance on the Plaintiff(s) at the address set forth below within 20
  days after the service of this Summons (not counting the day of service itself), or within 30 days
  after service Is complete it the summons Is not delivered personally to you within the State of
  New York.

          YOU ARE HEREBY NOTIFIED THAT should you fall to an~er or appear, a Judgment
  will be entered against you by default for the relief demanded below.

  Dated: November24~ 2015                            ~




                                                     Raymond C. Siliwell, Esq.
                                                     Print name
                                                     Address and Phone Number:
                                                     4476 MaIn Street. Suite 120
                                                     Amherst. New York 14226

                                                     (716) 634-8307

  Defendant’s Address: 120 Corporate Woods, Rochester, New York 14623

         Notice: The nature of this action is:
         breach of contract with resoect to payment of an Insurance daim for a toss sustained
         by plaintiff on November 30, 2013 for water damage to plaintlft’s property at 5693
         Dacola Shores Road, Conesus, Livingston County, New York


         The relief sought Is:
         money damaaes in the sum of Seventy-Three Thousand Five Hundred Twenty Eloht
         arid 121100 Dollars (573.528.1 2~. toaether with damaoes for loss of use. interest from
         February 12. 2014 and toaether with the costs and disbursements of this action.
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